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03/24/2022 01:07 AM CDT




                                                        - 746 -
                               Nebraska Supreme Court Advance Sheets
                                        310 Nebraska Reports
                                                BECKNER v. URBAN
                                                 Cite as 310 Neb. 746



                 Brian Beckner, Special Fiduciary of the Testamentary
                  Trust Established Under Item Five of the Last Will
                  and Testament of Francis R. Urban, also known as
                    The Francis R. Urban Family Trust, and Janet K.
                       Neujahr, Personal Representative of the
                          Estate of Lola R. Urban, deceased,
                           appellees and cross-appellants, v.
                             Richard D. Urban, appellant
                                  and cross-appellee.
                                                   ___ N.W.2d ___

                                        Filed January 21, 2022.   No. S-20-345.

                                            supplemental opinion
                  Appeal from the District Court for Polk County: Rachel
               A. Daugherty, Judge. Former opinion modified. Motion for
               rehearing overruled.
                    George H. Moyer, of Moyer, Moyer &amp; Lafleur, for appellant.
                 David J. Skalka, of Croker, Huck, Kasher, DeWitt, Anderson
               &amp; Gonderinger, L.L.C., for appellees.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                 Per Curiam.
                 The appellees have filed a timely motion for rehearing fol-
               lowing the release of our opinion in Beckner v. Urban. 1 We
                1
                    Beckner v. Urban, 309 Neb. 677, 962 N.W.2d 497 (2021).
                                  - 747 -
            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                           BECKNER v. URBAN
                            Cite as 310 Neb. 746
overrule the motion for rehearing, but modify our opinion
as follows:
   In the analysis section, we withdraw the last sentence in the
final paragraph 2 under the subheading “(ii) Adverse Possession”
and substitute the following:
          The remaining elements of adverse possession were
      also satisfied on this record. As noted, a party claiming
      title through adverse possession must prove by a pre-
      ponderance of the evidence that the adverse possessor
      has been in (1) actual, (2) continuous, (3) exclusive, (4)
      notorious, and (5) adverse possession under a claim of
      ownership for a statutory period of 10 years. 3 Here, the
      evidence established that Richard began possessing the
      property adversely in 2001 when he unequivocally repu-
      diated Lola’s title by demanding the deed and communi-
      cating that he believed he had paid all sums due under the
      land contract. Since that time, Richard has been in actual
      and continuous possession of the property to the exclu-
      sion of Lola and her successors, and he held the property
      openly and notoriously, improving the property and using
      it in a manner similar to that of a true owner. Because he
      did so for the statutory period of 10 years, Richard met
      his burden of proving that he acquired title to the property
      by adverse possession. It was plain error for the district
      court to hold otherwise.
          In sum, Richard began adversely possessing the prop-
      erty in 2001 when he distinctly and unequivocally repu-
      diated the contract. At that point, Lola arguably had the
      right to bring an action to recover title and possession
      of the property, 4 notwithstanding the fact that she had
      contracted away her rights to possess the property. But
      Lola sat on her rights and waited until 2018 to file the
2
    Id. at 693, 962 N.W.2d at 509.
3
    See Brown v. Morello, 308 Neb. 968, 957 N.W.2d 884 (2021).
4
    See Neb. Rev. Stat. § 25-202(1) (Reissue 2016).
                          - 748 -
      Nebraska Supreme Court Advance Sheets
               310 Nebraska Reports
                   BECKNER v. URBAN
                    Cite as 310 Neb. 746
  instant action. Thus, by the time Lola sought ejectment
  in response to Richard’s adverse possession, the statute
  of limitations for ejectment had already run, and Richard
  had already satisfied the elements of adverse posses-
  sion. The district court thus erred in issuing an order
  of ejectment.
The remainder of the opinion shall remain unmodified.
                      Former opinion modified.
                      Motion for rehearing overruled.
